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3
                                   UNITED STATES DISTRICT COURT
4
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
5

6    UNITED STATES OF AMERICA,                               1:15-cr-00288-LJO-SKO-14
7                            Plaintiff,                      ORDER TO SHOW CAUSE RE NON-
                                                             APPEARANCE OF DEFENSE
8                      v.                                    COUNSEL, REQUIRING PERSONAL
                                                             APPEARANCE OF COUNSEL AND
9    JOSE ROBERTO ARREOLA-SERRATO,                           DEFENDANT ON AUGUST 7, 2017 AT
                                                             2:00 PM
10
                             Defendant.
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13          This matter came on for a trial confirmation hearing before the undersigned on July 31, 2017 at

14 8:30 a.m. in Courtroom 4. Neither Defendant Arreola-Serrato nor his attorney, Arturo Hernandez,

15 appeared. In light of this non-appearance, Counsel is ORDERED TO SHOW CAUSE in person on

16 Monday August 7, 2017 at 2:00 pm in Courtroom 4 (LJO) why he should not be sanctioned and/or

17 held in contempt for failure to appear at the trial confirmation hearing.

18          Defendant is also ordered to personally appear on Monday August 7, 2017 at 2:00 pm. A no

19 bail arrest warrant issued for Defendant Arreola-Serrato, but that warrant will be held in abeyance

20 pending the outcome of this Order to Show Cause.

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22 IT IS SO ORDERED.

23      Dated:    July 31, 2017                              /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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